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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ASSATA ACEY
                                         Case No.: 2:23-cv-01438
       Plaintiff,
v.                                       Judge Paul S. Diamond

INDUCTEV

       Defendant.

                                    ORDER

      AND NOW, this day of                       , 2024, upon consideration of

Defendant InductEV’s Motion for Summary Judgment, Plaintiff’s response thereto,

and any reply, it is hereby ORDERED that Defendant’s Motion is GRANTED.

      It is further ORDERED that judgment is entered in favor of Defendant and

against Plaintiff on Counts V, VI, VII, VIII, X, XI, XII, XVII, XVIII, and XIX of

Plaintiff’s Complaint.

                                           IT IS SO ORDERED.




                                           DIAMOND, J.
